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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION
ANTSY LABS, LLC;
ZURU INC.,

                         Plaintiffs,
v.                                                             Case No. 22-cv-01801


THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES, PARTNERSHIPS
AND
UNINCORPORATED ASSOCIATIONS IDENTIFIED
ON SCHEDULE “A” TO THE COMPLAINT,

                         Defendants.

       JOINT MOTION FOR ENTRY OF AGREED ASSET RESTRAINT ORDER FOR
                           DEFENDANT SHEEBO


          Defendant SHEEBO1 AND/OR 5050 STYLE (hereinafter referred to as “5050 STYLE”

or “Defendant”) and Plaintiffs, ANTSY LABS, LLC AND ZURU, INC. (collectively

“Plaintiffs”), move this Court for the entry of the attached proposed Agreed Order decreasing

Sheebo’s asset restraint, and, in support, states:


          1. The Court entered temporary restraining orders under seal on April 26 and 28, 2022

              [DE 16 and 17], and extended on May 10, 2022 through May 26, 2022 [DE 22]. The

              Court granted Plaintiffs’ Motion for Entry of a Preliminary Injunction, substantially

              identical to the temporary restraining orders on May 26, 2022 [DE 28].


          2. Plaintiff has advised that their evidence indicates Sheebo has sold approximately

              $1,875 in alleged infringing items.

1    The brand store name is Sheebo, and the Seller’s name is 5050 Style.



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          3. The Declaration of Sheebo in support of it’s Motion to Dissolve, dated May 16, 2022,

             indicates that the amount of assets frozen as of April 28th was $24,000.00 and rising

             daily.


          4. The parties have agreed to limit the amount of assets frozen by Amazon to $4,000.00

             pending the resolution of these proceedings or a settlement agreement, whichever

             occurs first.


          5. Attached hereto is a proposed agreed order limiting the asset restraint of Sheebo to

             $4,000.


          WHEREFORE, the Plaintiff and the Defendant, SHEEBO, respectfully requests that the

Court enter the attached order and for any and all further relief as this Court deems just and

proper.




Dated: June 1, 2022.


                                                       Respectfully Submitted,
                                                       /s/Cory Rosenbaum
                                                       Rosenbaum, Famularo & Segal, P.C.
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                                                       /s/ David E. Hutchinson
                                                       Thoits Law
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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION
ANTSY LABS, LLC;
ZURU INC.,

                       Plaintiffs,
v.                                                             Case No. 22-cv-01801


THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES, PARTNERSHIPS
AND
UNINCORPORATED ASSOCIATIONS IDENTIFIED
ON SCHEDULE “A” TO THE COMPLAINT,

                       Defendants.

     AGREED ORDER REDUCING DEFENDANT SHEEBO’S ASSET RESTRAINT
        The Court having reviewed the Motion and the Pleadings in this matter hereby

ADJUDGES as follows:


        IT IS HEREBY ORDERED that the Temporary Restraining order and Preliminary

Injunction Order previously entered in this case shall be modified as to Defendant Sheebo as

follows:


        1.     Amazon.com (“AMAZON”) shall continue to maintain as to Defendant Sheebo,

the seller name 5050 Style with a client merchant token of A3TYVS8LPGCV5P, FOUR

THOUSAND DOLLARS ($4,000.00) of funds in the Amazon seller accounts of Defendant

Sheebo until final disposition of this case, or until further order of this Court.




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         2.    AMAZON shall immediately release all funds frozen, except for $4,000.00,

pursuant to the Temporary Restraining Orders [DE 16 and 17] and the Preliminary Injunction

Order [DE 28] relative to Defendant Sheebo.

         3.    The remaining conditions of the Temporary Restraining Orders and

Preliminary Injunction will remain in place as to Defendant Sheebo until further order of the

Court.

         4.    Plaintiff’s counsel, David E. Hutchinson, shall serve a copy of this Consent

Order on Amazon within one (1) day of entry of this Order, shall provide counsel with proof

thereof.

 THE FOLLOWING PARTIES APPROVE THE FORM OF THIS ORDER AND CONSENT
 TO EACH OF THE ORDERS NOTED ABOVE.



  /s/ David E. Hutchinson                                 /s/Cory Rosenbaum
  THOITS LAW                                              Rosenbaum, Famularo & Segal, P.C.
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  Attorney for Plaintiffs                                 Attorney for Defendant Sheebo
  Antsy Labs LLC; Zuru, Inc.



         ORDERED this ____ day of June, 2022.

                                                          ___________________________
                                                          Honorable Sara L. Ellis
                                                          United States District Judge




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